         Case 8:24-bk-11564-SC Doc 7 Filed 06/24/24 Entered 06/24/24 10:13:18                                        Desc
                             Case Com Def Ntc (Manual) Page 1 of 1
                                        United States Bankruptcy Court
                                         Central District of California
In re:                                                            CHAPTER NO.:   7
BBML Homes Inc.
dba A1 RCFE @ Sunny Hills, dba BBML HOMES, INC.                   CASE NO.: 8:24−bk−11564−SC

                             CASE COMMENCEMENT DEFICIENCY NOTICE
To Debtor and Debtor's Attorney of Record,
YOUR CASE MAY BE DISMISSED IF YOU FAIL TO CURE THE FOLLOWING DEFICIENCIES:
A. You must cure the following within 14 days from filing of your petition:

    Corporate Resolution Authorizing Filing of Petition required for Chapter 7 and 11. [Court Manual, section 2.1]
    Corporate Ownership Statement as specified by LBR 1007−4
    Statement of Related Cases (LBR Form 1015−2) [Information required by LBR 1015−2]
    Verification of Master Mailing List of Creditors [LBR 1007−1(a)] (LBR Form F1007−1)

    Other (Specify):
Missing debtor's hographic signature.




The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms




For all items above that are not electronically filed, you must file the original and the following number of copies in accordance
with Local Bankruptcy Rules 1002−1(c) and 5005−2, and Court Manual, section 2.5(a)(2).

                Chapter 7     Original only

Please return the original or copy of this form with all required items to the following location:

                411 West Fourth Street, Suite 2030, Santa Ana, CA 92701−4593
If you have any questions, please contact the Court's Call Center at the toll free number (855) 460−9641.




Dated: June 21, 2024                                                         For the Court
                                                                             Kathleen J. Campbell
                                                                             Clerk of Court
(Form mccdn − Rev 02/2020)                                                                                               7 − 1 / VN
